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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

    UNITED STATES OF AMERICA                               *              CRIMINAL NO. 19-113

          v.                                               *              SECTION: “E” (5)

    MARTHA BUEZO MARTINEZ                                  *

                             *     *   *
               GOVERNMENT’S MOTION AND INCORPORATED
              MEMORANDUM ACKNOWLEDGING DEFENDANT’S,
          MARTHA BUEZO MARTINEZ, ACCEPTANCE OF RESPONSIBILITY

         NOW INTO COURT comes the United States of America, appearing by and through

the undersigned Assistant United States Attorney, and with respect moves this Court as to the

following:

                                                           1.

         Pursuant to United States Sentencing Guidelines Manual § 3E1.1(b), a defendant may

receive the benefit of an additional 1-level decrease for acceptance of responsibility if: (1) he

first qualifies for an initial 2-level decrease under § 3E1.1(a); and (2) the Government states to

the Court that a timely guilty plea obviated the need to prepare for trial, thus efficiently

allocating the resources of the Court and the Government. 1

                                                           2.

         Accordingly, the United States moves that defendant, MARTHA BUEZO MARTINEZ,

be accorded the benefit of U.S.S.G. § 3E1.1(b), because she provided timely notice of her

intention to plead guilty, thus permitting the Government to avoid preparing for trial and

allowing both the Government and this Court to allocate their resources efficiently. Defendant’s




1
 Additionally, the section imposes the criterion that the offense level prior to the application of subsection (a) must
be 16 or greater; Martinez’s base offense level meets this requirement.
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decrease should be the three (3) points currently reflected in his Pre-sentence Investigation

Report.

                                                 Respectfully submitted,

                                                 DUANE A. EVANS
                                                 UNITED STATES ATTORNEY


                                                 s/ Duane A. Evans                        __
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 8, 2021, I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system which will send a notice of electronic filing to all defense

counsel of record.

                                                 s/ Duane A. Evans                        __
                                                 DUANE A. EVANS
                                                 United States Attorney




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